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           EXHIBIT 2
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                 UNITED STATES DEPARTMENT OF JUSTICE

                 ANTITRUST DIVISION, WASHINGTON, D.C.

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           PURSUANT TO CIVIL INVESTIGATION DEMAND NO. 30762



                             HIGHLY CONFIDENTIAL



           REMOTE VIDEOTAPED DEPOSITION OF

                        THURSDAY, OCTOBER 28, 2021




       STENOGRAPHICALLY REPORTED BY:

                 ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR

                 CSR LICENSE NO. 9830

                 JOB NO.     2021-816725
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          MR. MAHR: You can identify the attorney's                                    , not to respond to that question to the
     name if -- to the extent you remember.                           extent it requires you to reveal attorney-client
          THE WITNESS: Kent Walker.                                   privileged information.
          MR. NAKAMURA: Okay.                                               MR. NAKAMURA: Q.                         , what are the
       Q Anyone else?                                                 names of the global regulatory inquiries that Project
       A It's possible Ted Lazarus as well.                           Sunday sought to address?
       Q And when, roughly, if you recall, did you                       A I'm unable to answer that. I'll -- I'm
     speak to Mr. Walker or Mr. Lazarus regarding the                 following Mr. Mahr's instruction in this case.
     projects listed in this letter?                                        MR. NAKAMURA: Mr. Mahr, are you taking the
        A I'd have to say I don't recall the dates                     position that the names of these specific regulatory
     because it wasn't one point in time. Some of these                inquiries are privileged information for which
     were spread out over time.                                                          has a right to refuse to answer my
        Q And spread out over what range of, say,                      question?
     months of the year did that happen?                                     MR. MAHR: We are.
        A So we are in October '21. No. Very roughly,                        And I'll say, as I have said before, we are
     it would be from the beginning of -- somewhere between            working with the Department of Justice to get you
     the beginning of 2019 and, I don't know, second or                information on these topics that are not confidential,
     third quarter of 2020 is -- is my best estimate I can             but we're not going to do that on the fly in a
     give you.                                                         deposition.
        Q Okay. Thank you.                                                   MR. NAKAMURA: Q. Who at Google provided you
           And what is Project Sunday?                                 with legal advice regarding Project Sunday,
           MR. MAHR: And I'll instruct the witness to                                   ?
     answer only at the highest level, but not go into any                   MR. MAHR: Again, you can provide the name of
     detail that required you to divulge attorney-client               the lawyers, to the extent you recall.
     privileged information or work product material.                        THE WITNESS: Kent Walker is the one whose

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          THE WITNESS: Okay. With that instruction,                   name I really recall.
     it was a discussion. We had an early discussion of                      MR. NAKAMURA: Q. And did anyone -- any
     what we would -- how we would proceed with our display           attorneys at any outside law firm provide you with
     advertising business in the light of an evolving                 legal advice regarding Project Sunday?
     regulatory and privacy landscape.                                   A I don't recall engaging with any outside
          MR. NAKAMURA: Q. And                        , to be         attorney on this matter.
     clear, do you have other knowledge regarding what                   Q Were you one of the Google employees who
     Project Sunday is that you are refusing to provide me            initiated Project Sunday?
     based on the instruction of Mr. Mahr?                               A It's a small group of us that -- including
        A There is a little bit more detail I can                      Kent Walker that said we should look at this question.
     recall, but that is discussion I've had with Kent                    Q Did Mr. Dischler also initiate Project
     Walker.                                                           Sunday?
           MR. MAHR: So I'll instruct you -- for                          A I'm unable to tell you, you know, who exactly
     purposes of the record, I will instruct you formally,             initiated it. But I had discussions with Kent for
                     , not to disclose any -- any                      sure and a couple of other employees. It's -- it's
     communications you had with Mr. Walker or any other               not like many people are involved, so I don't know
     counsel concerning these subjects.                                what to make of initiating versus not.
           MR. NAKAMURA: Q. And to complete the                           Q And were you one of the key decision makers
     record, are you going to follow Mr. Mahr's                        on Project Sunday?
     instruction?                                                         A To my knowledge, there was no decision made.
        A I do plan to follow Mr. Mahr's instruction.                  So -- so I wouldn't call myself or anybody a decision
        Q Thank you.                                                   maker.
           And what specific global regulatory inquiries                  Q When you initiated the project, if there were
     did Project Sunday seek to address?                               to have been a decision, would you have been one of
           MR. MAHR: I will offer the same instruction,                the individuals who would have made a decision as to
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        Q Okay. Who was the day-to-day Google employee               MR. NAKAMURA: Thank you for returning,
     in charge of Project Sunday?                                           .
        A Jerry Dischler was involved. I'm trying to              Q Beginning where I left off, what is your
     recall whether                 was involved. Kent Walker   understanding of what Project Monday is at Google?
     and, I believe, Ted Lazarus were also involved.                MR. MAHR: I'll object and direct the witness
        Q As part of your work on Project Sunday, did           not to respond on the basis of attorney-client
     you ever see any material prepared by the investment       privilege and attorney work product, other than to
     banking firm Lazard, L-A-Z-A-R-D?                          provide a brief high-level description of your
        A I don't recall seeing that.                           understanding of Project Monday, if you have one.
         Q Okay. And I want to just confirm these                    THE WITNESS: Okay. With that instruction
      things for the record.                                     noted, my best recollection is Monday -- sort of the
            Did Google consider any divestitures as part        best way of looking at it is to base an evolution of
      of Project Sunday?                                        Sunday in which, if I remember, it was primarily Kent
            MR. MAHR: Same objection not to answer on           Walker, maybe Ted Lazarus, saying, Hey, you know, the
      the grounds of attorney-client privilege and attorney     environment is changing. You know, how should we
      work product.                                             think about making adjustments in our advertising
            MR. NAKAMURA: Q. Will you follow that               business?
      instruction,              ?                                   So that's the high-level discussion.
         A I will.                                                  MR. NAKAMURA: Q. And what -- let me try to
         Q Did Google consider any acquisitions as part         parse that statement.
      of Project Sunday?                                             So did Mr. Walker and Mr. Lazarus' roles
            MR. MAHR: Same object- -- same instruction.         change between Projects Sunday and Monday?
      Objection and same instruction. Sorry.                      A I don't think of it as changing. In both
            MR. NAKAMURA: Thank you.                            cases, they -- they are the best sources of
         Q Will you follow that instruction,                    information on -- on the regulatory landscape and what

                                                  Page 250                                                           Page 252
     Mr. Raghavan?                                              is impending out there. So as a fairly routine
        A I will.                                               matter, they educate my colleagues and myself.
        Q And did Google consider making any changes to               And in like fashion, here, too, they were
     its ad tech products as a part of Project Sunday?          doing that. And, you know, we were looking at
           MR. MAHR: Objection.                                 adjustments to the business in light of some of the
           And I instruct the witness not to respond on         things they saw coming.
     the grounds of attorney-client privilege and attorney         Q And when you say "regulatory landscape,"
     work product.                                              what do you mean?
           MR. NAKAMURA: Q. Will you follow that                      MR. MAHR: I'll object.
      instruction,                ?                                    I re- -- and instruct him not to answer on
         A I will.                                               the grounds of attorney-client privilege and attorney
         Q And last question on Project Sunday: Other            work product, for the reasons stated before.
      than law firms, did you -- did Google, to your                   MR. NAKAMURA: Q. Will you follow Mr. Mahr's
      knowledge, ever work with any other companies -- any       instruction?
      other outside companies on Project Sunday?                    A I will.
            MR. MAHR: You may answer that question if               Q Are there specific regulatory inquiries that
      you're able to.                                            related to Project Monday?
            THE WITNESS: Not to my knowledge.                          MR. MAHR: I object.
            MR. NAKAMURA: Okay. Let's go off the                       I instruct the witness not to answer on the
      record.                                                    grounds of the attorney-client privilege and attorney
            THE VIDEOGRAPHER: The time is 4:11 p.m. We           work product.
      are now off the record.                                          MR. NAKAMURA: Q. Will you follow that
            (Recess taken.)                                      instruction?
            THE VIDEOGRAPHER: The time is 4:20 p.m. We              A I will.
      are now back on the record.                                   Q And who initiated Project Monday?
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